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EXHIBIT 8
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DEPUTY SECRETARY OF DEFENSE
1010 DEFENSE PENTAGON
WASHINGTON, DC 20301-1010

-7 JUL 2004

MEMORANDUM FOR THE SECRETARY OF THE NAVY
SUBJECT: Order Establishing Combatant Status Review Tribunal

This Order applies only to foreign nationals held as enemy combatants in the
control of the Department of Defense at the Guantanamo Bay Naval Base, Cuba
(‘detainecs”).

a. Enemy Combatant. For purposes of this Order, the term “cnemy combatant”
shall mean an individual who was part of or supporting Taliban or al Qaeda forces. or
associated forces that are engaged in hostilities against the United States or its coalition
partners. This includes any person who has committed a belligerent act or has directly
supported hostilitics in aid of enemy armed forces. Each detainee subject lo this Order
hus been determined to be an enemy combatant through multiple levels of review by
officers of the Department of Detensc.

bh. Notice. Within ten days after the date of this Order, all detainees shal] be
notified of the opportunity to contest designation as an enemy combatant in the
proceeding described herein, of the opportunity to consult with and be assisted by a
personal representative as described in paragraph (c), and of the right to seek a writ of
habeas corpus in the courts of the United States.

c. Personal Representative. Each detainee shall be assigned a military officer,
with the appropriate security clearance. as a personal representative for the purpose of
assisting the detainee in connection with the review process described herein. The
personal representative shall be afforded the opportunity to review any reasonably
available information in the possession of the Department of Defense that may be
relevant to a determination of the detainee’s designation as an enemy combatant,
including any records, determinations. or reports generated in connection with earlier
determinations or reviews, and 10 consult with the detainee concerning that designation
and any challenge thereto. The personal representative may share any information with
the detainee. except for classified information, and may participate in the Tribunal
proceedings as provided in paragraph (g)(4).

d. Tribunals, Within 30 days after the detainee’s personal representative has
been afforded the opportunity to review the reasonably available information in the
possession of the Department of Defense and had an opportunity to consult with the
detainee, a Tribunal shall be convencd to review the detainee’s status as an enemy
combatant.

e. Composition of Tribunal. A Tribunal shail be composed of three neutral

commissioned officers of the U.S. Armed Forces, each of whom possesses the
appropriate security clearance and none of whom was involved in the apprehension,

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detention, interrogation, or previous determination of status of the detainee. One of the
members shall be a judge advocate. The senior member (in the grade of 0-5 and above)
shall serve as President of the Tribunal. Another non-voting officcr, preferably a judge
advocate, shall serve as the Recorder and shall not be a member of the Tribunal.

{. Convening Authority. The Convening Authority shall be designated by the
Secretary of the Navy. The Convening Authority shall appoint each Tribunal and its
members, and a personal representative for each detainee. The Secretary of the Navy.
with the concurrence of the General Counsel of the Department of Defense, may issue
instructions to implement this Order.

w Procedures.

(1) The Recorder shall provide the detainee in advance of the proceedings with
notice of the unclassifted factual basis for the detainee’s designation as an enemy
combatant.

(2) Members of the Tribunal and the Recorder shall be sworn. The Recorder
shall be sworn first by the President of the Tribunal. The Recorder will then administer
an oath, to faithfully and impartially perform their duties, to all members of the Tribunal
to include the President.

(3) The record in each case shall consist of all the documentary evidence
presented to the Tribunal. the Recorder’s summary of all witness testimony, a written
report of the Tribunal’s decision, and a recording of the proceedings (except proceedings
involving deliberation and voting by the members), which shal! be preserved.

(4) The detainee shall be allowed to attend all proceedings. except for
proceedings involving deliberation and voting by the members or testimony and other
matters that would compromise national security if held in the presence of the detainee.
The detainee’s personal representative shalt be allowed to attend all proceedings, except
for proceedings involving deliberation and voting by the members of the Tribunal.

(5) The detaince shall be provided with an interpreter, tf necessary.

(6) The detainee shall be advised at the beginning of the hearing of the nature of
the proceedings and of the procedures accorded him in connection with the hearing.

(7) The Tribunal, through its Recorder, shall have access to and consider any
reasonably available information gcnerated in connection with the initial determination to
hold the detainee as an enemy combatant and in any subsequent reviews of that
determination, as well as any reasonably available records, determinations, or reports
generated in connection therewith,

(8) The detainee shall be allowed to call witnesses if reasonably available, and to
question those witnesses called by the Tribunal. The Tribunal shall determine the

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reasonable availability of witnesses. If such witnesses are from within the US. Armed
Forces. they shall not be considered reasonably available if, as determined by their
commanders, their presence at a hearing would affect combat or support operations. In
the case of witnesses who are not reasonably available, written statements, preferably
swom, may be submitted and considered as evidence.

(9) The Tribunal is not bound by the rules of cvidence such as would apply tn a
court of law. Instead, the Tribunal shall be free to consider any information it deems
relevant and helpful to a resolution of the issue before it. Al the discretion of the
Tribunal. for example, it may consider hearsay evidence, taking into account the
reliability of such evidence in the circumstances. The Tribunal does not have the
authority to declassify or change the classification of any national security information tt
reviews.

(10) The detainee shall have a right to testify or otherwise address the Tnbunal in
oral or written form, and to introduce relevant documentary evidence.

(11) The detainee may not be compelicd to testify before the Tribunal.

(12) Following the hearing of testimony and the review of documents and other
evidence, the Tribunal shall determine in closed session by majority vote whether the
detaince is properly detained as an enemy combatant. Preponderance of evidence shall
be the standard used in reaching this determination, but there shall be a rebuttable
presumption in favor of the Government’s evidence.

(13) The President of the Tribunal shall, without regard to any other provision of
this Order, have authority and the duty to ensure that all proceedings of or in relation to
the Tribunal under this Order shall comply with Executive Order 12958 regarding
national security information.

h. The Record. The Recorder shall, to the maximum extent practicable, prepare
the record of the Tribunal within three working days of the announcement of the
Tribunal’s decision. The record shall include those items described in paragraph (g)(3)
above, The record will then be forwarded to the Staff Judge Advocate for the Convening
Authority, who shall review the record for legal sufficiency and make a recommendation
to the Convening Authority. The Convening Authority shall review the Tribunal’s
decision and, in accordance with this Order and any implementing instructions issued by
the Secretary of the Navy, may return the record to the Tribunal for further proceedings
of approve the decision and take appropriate action,

i. Non-Enemy Combatant Determination. If the Tribunal determines that the
detainee shall no longer be classified as an enemy combatant, the written report of its
decision shall he forwarded directly te the Secretary of Defense or his designee. The
Secretary or his designee shall so advise the Secretary of State, in order to permit the
Secretary of State to coordinate the wansfer of the detainee for release to the detainee’s

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country of citizenship or other disposition consistent with domestic and international
obligations and the foreign policy of the United States.

j. This Order is intended solely to improve management within the Department of
Defense concerning its detention of enemy combatants at Guantanamo Bay Naval Base.
Cuba, and is not intended to, and does not, create any right or benefit, substantive or
procedural, enforceable at law. in equity, or otherwise by any party against the United
States, its departments, agencies, instrumentalities or entities, its officers, employees or
agents, or any other person.

k. Nothing in this Order shall be construed to limit, impair, or otherwise affect the
constitutional authority of the President as Commander in Chief or any authority granted
by statute to the President or the Secretary of Defense.

This Order is effective immediately.

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